                     IN THE UNITED STATES DISTRIÇT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


STEPH,{.NIE ROBLES,                                  )
                                                     )
                     Plaintiff,                      )
                                                     )
           v.                                        )           1,:1.5CY285
                                                     )
TRANSDEV NORTH AME,RIC,\, INC.,                      )
                                                     )
                     Defendant.                      )

                                   STIPULATED PROTECTIVE ORDER

       The patties to this Stipulated Protective Order have agteed to the terms of this

Order. -A,ccordingly, it is ordeted:

       1         Scope. All documents ptoduced in the course           of discovety, including initial

disclosutes, all responses to discovety tequests, all deposition testimony and exhibits, other

matedals which may be subject to testrictions on disclosure fot good cause and infotmation

derived directly thetefrom (heteinaftet collectively "documents"), shall be subject to this

Order concerning confidentialinformation as set forth below The Ordet is subject to the

Local Rules     of this District   and the Federal Rules   of Civil   Ptocedure on matters   of

ptocedure and calculation         of time petiods.

       2         Fotm and Timing of Designation.            Â.   patty may designate documents     as


confidential and testricted in disclosute undet this Ordet by placing ot affixing the word

"CONFIDENTIAI" on the document in a manner tha;t will not intetfete with the legibility

of the document and that will petmit complete temoval of the CONFIDENTIÂL

desþation. Documents shall be designated CONFIDENTI-,{I pdor to or at the time of
                                                     -1-



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the production or disclosure    of the documents, or within five (5) days of ptoduction. If     a


party designates a document as CONFIDENTIAI after its ptoduction, the designation shall

be effective from the moment it was so designated going forward, subject to this Otdet.

          3     Documents Which May be Designated CONFIDENTIAL. Aty Patty

may designate documents as      CONFIDENTIAL upon making a good faith detetmination

that the documents contain information pÍotected ftom disclosure by statute ot that should

be protected ftom disclosure as medical or psychiatric information, ttade sectets, personnel

records, information that is treated as confidential ot proptietaty by a party, or such other

sensitive commetcial information that is not publicly avallable.

          4     Depositions. Deposition testimony shall be deemed CONFIDENTIAL only

if   designated as such. Such designation shall be specific as to the portions   of the transcript

or   any exhibit to be designated as   CONFIDENTIAI,        unless the exhibit contains documents

previously treated as CONFIDENTIAL, in which case the exhibit will be treated in

accordance with this Protective Otdet.    At the time of a deposition ot within 10 days aftet

receipt   of the deposition transcdpt, a parLy may    designate as   CONFIDENTIAL specific

pages and lines   of the transcript and exhibits which contain CONFIDENTIAL matters

undet the standards set   foth in patagraph 3 above. This designation      shall be in writing and

served upon all counsel. Transcripts will be treated as CONFIDENTIAL for the above

mentioned 10-day period. Theteaftet, the pottions        of the deposition ttanscripts and exhibits

designated as   CONFIDENTIAL in compliance with the tetms of this paragtaph shall be

ptotected as CONFIDENTIAL, pending objection, undet the terms              of this Ordet.


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5    Protection of Confidential Material

     5.1    General Protections. Documents designated CONFIDENTIAI

            undet this Otdet shall not be used or disclosed by the patties, counsel

            fot the parties or         other persons identified in fl 5.2 for any purpose
                                 ^ny
            whatsoever other than to prepare for and to conduct discovery and

            trial in this action, including any appeal theteof.

     5.2    Limited Third-Party Disclosures. The patties and counsel fot the

            patties shall not disclose ot permit the disclosute     of   any

            CONFIDENTIAI documents to any thitd person ot entity except as

            set fotth in subpatagtaphs 5.2.1,-5.2.5     of this section. Subject to these

            requi-tements, the following categories     of persons may be allowed to

            teview documents that have been designated CONFIDENTIAL:

       5.2,1       Counsel. Counsel for the parties and employees and agents of

                   counsel who have responsibiliry       fot the prepatation and trial of

                   the action;

       5.2.2       Parties. Patties and management-level employees of a p^tty to

                   this Otdet;

       5.2.3       Court Reportets and Recotders. Coutt tepottets and

                   tecotdets engaged fot depositions;




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       5.2.4               Consultants, Investigâtors and Experts. Consultants,

                           investigators, or experts Qreteinaftet tefetted to collectively      as


                           "expetts") employed by the parties ot counsel fot the patties to

                           assist   in the preparation and trial of this action ot ptoceeding,

                           but only after such persons have completed the cettification

                           contained in Attachment L, ACKNOWLEDGMENT OF

                           UNDERSTANDING AND AGRE,E,MENT TO BE

                           BOUND; and

       5.2.5               Others by Consent. Othet petsons only by written consent of

                           the producing patty or upon otdet         of the Court     and on such

                           conditions as may be agreed ot otdeted. All such persons shall

                           execute the cettification contained in Attachment 1,

                           ACKNOTTLE,D GMENT OF UNDERSTAND                            ING,\ND

                           AGREEMENT TO BE BOUND.

     5.3       Control of Documents. Counsel fot the patties shall take reasonable

               and apptopriate measutes to prevent unauthorized disclosute                 of

               documents desþated as               CONFIDENTIAI putsuant to the tetms of

               this Ordet. Counsel shall maintain the otiginals            of the forms signed by

               persons acknowledging theit obligations under this Otdet fot a period

               of   1,   year aftet dismissal    of the action, the entry of fìnal judgment

               andf or the conclusion         of      any appeals adsing theteftom.




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              5.4    Copies. Prior to production (or upon such latet designation as set

                      forth in patagtaph 2, to another part!, all copies, electtonic images,

                     duplicates, extracts, summaries ot descriptions (heteinafter referred to

                     collectively as "copies")     of documents       designated as

                     CONFIDENTIAL undet this Otder, or                        individual pottion   of such
                                                                       ^rly
                     a document, shall be affixed        with the designation CONFIDENTIAL              if
                     the wotd does not aheady                  r on the copy. All such copies shall
                                                        ^ppe
                     thereafter be entided to the protection         of this Ordet. The term

                     "copies" shall not include indices, electonic databases or lists of

                     documents provided these indices, electtonic databases or lists do not

                     contain substantial portions or images          of the text of confidential

                     documents or otherwise disclose the substance              of the confìdential

                     information contained in those documents.

              5.5    Inadvertent Production. Inadvettent Ptoduction of any document ot

                     infotmation that         p^rty intended to be designated       as
                                          ^
                     CONFIDENTIAL shall be govetned l:y paragtaph 2, or if such time

                     for designation under paragraph 2 has           passed, by either consent     of the

                     parties to the designation or by seeking leave           of Coutt to designate the

                     document or information as CONFIDENTI.AI.

       6     Filing of CONFIDENTIAL Documents under Seal. The Court highly

discoutages the manual filing   of   any pleadings   ot documents under seal. To the extent that        a


bdef, memotandum or pleading refetences any document matked as CONFIDENTIAI,

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then the bdef, memorandum ot pleading shall refer the Court to the patticulat exhibit filed

under seal without disclosing the contents    of   any confidentialinformation. In the case of

images marked    CONFIDENTIAL, the memotandum ot pleading may give a brief

description   of the image that does not   reveal any infotmation designated as

CONFIDENTIAL under this Protective Otdet. Documents filed under                      seal shall be filed


Dursuant to Local Rule 5.4.

                6.1    Before any document marked as CONFIDENTI,{L is filed under seal

                       with the Clerk, the filing party shall ftst consult with the patty that

                       odgrnally designated the document as CONF'IDENTI.,\L to detetmine

                       whethet, with the consent         of that p^try, the document or a tedacted
-
                       vetsion   of the document      may be filed with the Coutt not undet seal.

                6.2 llhete agteement is not possible ot adequate, and subject to any
                       applicable LocaI Rules, befote ahard copy           of a CONFIDENTIAI

                       document is filed with the Cletk,       it   shall be placed in a sealed envelope

                       matked "CONFIDENTL{L DOCUMENTS", displaytng the case

                       name, docket number, the name           of the p^tty in whose behalf it is

                       submitted, and name     of the attorney who has filed the documents on

                       the front   of the envelope.

       7       Challenges by a Party to Designation as Confidential. Any

CONFIDENTIAL designation is subject to challenge by any patty. Befote filing                 any

motions ot objections to a confidentiality designation with the Coutt, the objecting party

shall have an obligation to meet and confet in a good faith effott to tesolve the objection by

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agreement.   If agreement   is reached conftming ot waiving the           CONFIDENTIAL

designation as to any documents subject to the objection, the designattngparty shall setve

on all parties a notice speci$ring the documents and the nature           of the agreement.

       8       Action by the Court. Applications to the Court for an otder telating to                  any


documents designated     CONFIDENTIAI             shall be by motion pursuant to the LocaI Rules

and any other ptocedures set forth in the presiding judge's standing otdets or other relevant

orders. Nothing in this Otdet   or   any action   ot agteement of    a    p^rty undet this Ordet limits

the Coutt's power to make any orders that may be appropdate with tespect to the use and

disclosure   of any documents produced ot used in discovery or                 tflal.
                                                                          ^t
       9       Use of Conhdential Documents or Information atTrial All ttials are open

to the public. Absent order of the Coutt, there will be no testrictions on the use of any

document that may be introduced by any par.ty during the ttial.           If   a patt¡ intends to ptesent

at tttal CONFIDENTIAL documents or information derived theteftom, such party shall

provide advance notice to the other pairq at least fìve (5) days before the commencement of

ttial by identi$'ing the documents or information at issue as specifically              as possible (i.e., by


Bates number, p^ge rzLîge, deposition transctipt lines, etc.) without divuþing the actual

CONFIDENTIAL documents ot information. The Court may thereaftet make such otdets

as afe necessafy   to govern the use of such documents or infotmation at trial.

       10      Obligations on Conclusion of Litigation.

                10.1    Order Remains in Effect. Unless otherwise agteed ot otdeted, this

                        Otdet shall temain in fotce after dismissal or entry of final judgment

                        not subject to futthet appeal fot    a   period   of   (1) yeat.

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                10.2 Maintenance of CONFIDENTIAL Documents After                                Conclusion

                      of   Case.

          tl   Order Subiect to Modification. This Order shall be subject to modification

by the Court on its own motion or on motion          of     apatty or âny othet person with standing

concetningthesubjectm?,ttet.'Motionstomodi$'thisOtdetshallbesetvedandfiled

pursuant to the Local Rules and the presiding judge's standing otders ot other televant

ordets.

          12 No Prior Judicial Determination.               This Order is enteted based on the

representations and agreements      of the parties andfor          the putpose    of facilitating   discovery.

Nothing hetein shall be construed or presented            as a   judicial detetmination that any

documents or information designated CONFIDENTIAL by counsel ot the patties is subiect

to protection undet Rule 26(c)     of the Federal   Rules        of Civil   Ptocedure or otherwise until

such time as the Coutt may tule on a specific document ot issue.

          L3   Persons Bound. This Ordet shall take effect when enteted and shall be

binding upon all counsel and their law ftms, the patties, and petsons made subject to this

Order by its terms.


          So onopnED. This,               day   of Novembet,201.5



                                                                         L.      ster
                                                                      United States Magistrate Judge




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